Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 1 of 20




                 Exhibit G
                             Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 2 of 20




               NDA 214755
                                                                                                  NDA APPROVAL

               Avadel CNS Pharmaceuticals, LLC
               c/o ProPharma Group
               Attention: Marla E. Scarola
               Senior Vice President, Regulatory Process Management
               1129 Twentieth Street NW, Suite 600
               Washington, DC 20036


               Dear Ms. Scarola:

               Please refer to your new drug application (NDA) dated and received December 15,
               2020, and your amendments, submitted pursuant to section 505(b)(2) of the Federal
               Food, Drug, and Cosmetic Act (FDCA) for Lumryz (sodium oxybate) for extended-
               release oral suspension.

               We acknowledge receipt of your amendment dated March 1, 2023, following our
               July 18, 2022, tentative approval letter.

               This NDA provides for the use of Lumryz (sodium oxybate) for extended-release oral
               suspension for the treatment of cataplexy or excessive daytime sleepiness (EDS) in
               adults with narcolepsy.

               APPROVAL & LABELING

               We have completed our review of this application, as amended. It is approved, effective
               on the date of this letter, for use as recommended in the enclosed agreed-upon
               labeling.

               CONTENT OF LABELING

               As soon as possible, but no later than 14 days from the date of this letter, submit the
               content of labeling [21 CFR 314.50(l)] in structured product labeling (SPL) format using
               the FDA automated drug registration and listing system (eLIST), as described at
               FDA.gov.1 Content of labeling must be identical to the enclosed labeling (text for the
               Prescribing Information, Instructions for Use, Medication Guide, and REMS) as well as
               annual reportable changes not included in the enclosed labeling. Information on
               submitting SPL files using eLIST may be found in the guidance for industry SPL



               1
                   http://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/default.htm




Reference ID: 5166429
                          Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 3 of 20

               NDA 214755
               Page 2


               Standard for Content of Labeling Technical Qs and As.2

               The SPL will be accessible via publicly available labeling repositories.

               We request that the labeling approved today be available on your website within 10
               days of receipt of this letter.

               CARTON AND CONTAINER LABELING

               Submit final printed carton and container labeling that are identical to the container
               labels submitted on November 4, 2021, and carton labeling submitted on November 15,
               2021, as soon as they are available, but no more than 30 days after they are printed.
               Please submit these labeling electronically according to the guidance for industry SPL
               Standard for Content of Labeling Technical Qs & As. For administrative purposes,
               designate this submission “Final Printed Carton and Container Labeling for
               approved NDA 214755.” Approval of this submission by FDA is not required before the
               labeling is used.

               DATING PERIOD

               Based on the stability data submitted to date, the expiry dating period for Lumryz
               (sodium oxybate) extended-release oral suspension shall be 36-months from the date of
               manufacture when stored at 20°C to 25°C (68°F to 77° F).

               POSTMARKETING REQUIREMENTS UNDER 505(o)

               Section 505(o)(3) of the FDCA authorizes FDA to require holders of approved drug and
               biological product applications to conduct postmarketing studies and clinical trials for
               certain purposes, if FDA makes certain findings required by the statute.

               We have determined that an analysis of spontaneous postmarketing adverse events
               reported under subsection 505(k)(1) of the FDCA will not be sufficient to assess a signal
                                                                                            (b) (4)
               of a serious risk of systemic toxicity associated with the excipient                 .

               Furthermore, the active postmarket risk identification and analysis system as available
               under section 505(k)(3) of the FDCA will not be sufficient to assess this serious risk.

               Therefore, based on appropriate scientific data, FDA has determined that you are
               required to conduct the following studies:

               4441-1         Conduct an oral absorption study of radiolabeled methacrylic acid
                                                    (b) (4)                                         (b) (4)
                              copolymer,                    in rat. The methacrylic acid copolymer,
                                    should be the same as the excipient in the to-be-marketed product.
               2
                We update guidances periodically. For the most recent version of a guidance, check the FDA Guidance
               Documents Database https://www.fda.gov/RegulatoryInformation/Guidances/default.htm.

               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                         Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 4 of 20

               NDA 214755
               Page 3



               The timetable you submitted on April 26, 2023, states that you will conduct this study
               according to the following schedule:

                             Final Protocol Submission: 07/2024
                             Study Completion:          09/2024
                             Final Report Submission: 12/2024

               4441-2        Conduct a six-month oral toxicology study of methacrylic acid copolymer,
                                         (b) (4)                                                (b) (4)
                                                 in rat. The methacrylic acid copolymer,
                             should be the same as the excipient in the to-be-marketed product. The
                             study will only be needed if oral absorption is demonstrated in an
                             adequately conducted study (PMR #4441-1).

               The timetable you submitted on April 26, 2023, states that you will conduct this study
               according to the following schedule:

                             Final Protocol Submission: 06/2025
                             Study Completion:          02/2026
                             Final Report Submission: 08/2026

               Submit clinical protocol(s) to your IND 126321 with a cross-reference letter to this NDA.
               Submit nonclinical and chemistry, manufacturing, and controls protocols and all final
               report(s) to your NDA. Prominently identify the submission with the following wording in
               bold capital letters at the top of the first page of the submission, as appropriate:
               Required Postmarketing Protocol Under 505(o), Required Postmarketing Final Report
               Under 505(o), Required Postmarketing Correspondence Under 505(o).

               Section 505(o)(3)(E)(ii) of the FDCA requires you to report periodically on the status of
               any study or clinical trial required under this section. This section also requires you to
               periodically report to FDA on the status of any study or clinical trial otherwise
               undertaken to investigate a safety issue. Section 506B of the FDCA, as well as 21 CFR
               314.81(b)(2)(vii) requires you to report annually on the status of any postmarketing
               commitments or required studies or clinical trials.

               FDA will consider the submission of your annual report under section 506B and
               21 CFR 314.81(b)(2)(vii) to satisfy the periodic reporting requirement under section
               505(o)(3)(E)(ii) provided that you include the elements listed in 505(o) and
               21 CFR 314.81(b)(2)(vii). We remind you that to comply with 505(o), your annual report
               must also include a report on the status of any study or clinical trial otherwise
               undertaken to investigate a safety issue. Failure to submit an annual report for studies
               or clinical trials required under 505(o) on the date required will be considered a violation
               of FDCA section 505(o)(3)(E)(ii) and could result in enforcement action.



               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                           Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 5 of 20

               NDA 214755
               Page 4


               RISK EVALUATION AND MITIGATION STRATEGY REQUIREMENTS

               Section 505-1 of the FDCA authorizes FDA to require the submission of a risk
               evaluation and mitigation strategy (REMS), if FDA determines that such a strategy is
               necessary to ensure that the benefits of the drug outweigh the risks.

               In accordance with section 505-1 of FDCA, we have determined that a REMS is
               necessary for Lumryz (sodium oxybate) to ensure the benefits of the drug outweigh the
               risks of serious adverse outcomes resulting from inappropriate prescribing, misuse,
               abuse, and diversion.3

               Your proposed REMS must also include the following:

               Elements to assure safe use: Pursuant to 505-1(f)(1), we have determined that
               Lumryz (sodium oxybate) can be approved only if elements necessary to assure safe
               use are required as part of the REMS to mitigate the risks of serious adverse outcomes
               resulting from inappropriate prescribing, misuse, abuse, and diversion listed in the
               labeling of the drug.

               Your REMS includes the following elements to mitigate these risks:

                       Healthcare providers have particular experience or training, or are specially
                        certified

                       Pharmacies, practitioners, or health care settings that dispense the drug are
                        specially certified

                       The drug is dispensed to patients with evidence or other documentation of safe-
                        use conditions

               Implementation System: The REMS must include an implementation system to
               monitor, evaluate, and work to improve the implementation of the elements to assure
               safe use (outlined above) that require: pharmacies, practitioners, or health care settings
               that dispense the drug be specially certified and the drug be dispensed to patients with
               documentation of safe use conditions.

               Your proposed REMS, submitted on December 15, 2020, amended, and appended to
               this letter, is approved.

               The REMS consists of a elements to assure safe use, an implementation system, and a
               timetable for submission of assessments of the REMS.

               3
                 The goal of mitigating diversion in this REMS refers to preventing the sale or transfer of the drug outside
               the framework of the REMS in order to mitigate the risks of central nervous system depression,
               respiratory depression, abuse, and misuse.

               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                         Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 6 of 20

               NDA 214755
               Page 5



               Your REMS must be fully operational before you introduce Lumryz (sodium oxybate)
               into interstate commerce.

               The REMS assessment plan must include, but is not limited to, the following:

               For each metric, provide the two previous, current, and cumulative reporting periods
               (where applicable) unless otherwise noted.

               For each metric, provide the two previous, current, and cumulative reporting periods
               (where applicable) unless otherwise noted.

               Program Implementation and Operations

                         1. REMS Implementation (1st assessment after approval)

                                 a. REMS implementation date
                                 b. Date of first commercial distribution of Lumryz
                                 c. Date when the Lumryz REMS call center became operational
                                 d. Date when the Lumryz REMS website became live and operational
                                 e. Date(s) when the Dear Healthcare Provider Letter and Dear
                                 Professional Society Letter were provided
                                       i.Number of letters sent by method of distribution (mail/email)
                                      ii.Number of letters returned/undeliverable and number of
                                         unopened emails for each mailing

                         2. REMS Enrollment and Certification Statistics

                                  a. Patients
                                       i.Total number of enrolled patients
                                      ii.Number and percentage of newly enrolled patients stratified by
                                         age, geographic region (defined by US Census), and gender
                                     iii.Number and percentage of active patients enrolled (i.e.,
                                         patients who received at least one shipment of Lumryz during
                                         the reporting period) stratified by age, geographic region
                                         (defined by US Census), and gender
                                     iv.Number and percentage of patients who have discontinued
                                         Lumryz after receiving at least one shipment of Lumryz. Include
                                         demographics of discontinued patients and reasons for
                                         discontinuation

                                  b. Healthcare Providers
                                       i.Total number of certified healthcare providers
                                      ii.Number and percentage of newly certified healthcare
                                         providers stratified by professional designation (i.e., MD, DO,

               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                         Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 7 of 20

               NDA 214755
               Page 6


                                            PA, NP, Other), medical specialty, and geographic region
                                            (defined by US Census)
                                        iii.Number and percentage of active certified healthcare
                                            providers (i.e., healthcare providers who have written at least
                                            one prescription for Lumryz during the reporting period)
                                            stratified by professional designation (i.e., MD, DO, PA, NP,
                                            Other), medical specialty, and geographic region (defined by
                                            US Census)

                                    c. Certified Pharmacies
                                          i.Total number of certified pharmacies
                                         ii.Number of newly certified pharmacies
                                        iii.Number of active pharmacies (e.g., dispensed one or more
                                            Lumryz prescriptions)

                                    d. Wholesaler/Distributors
                                        i. Total number of authorized wholesalers/distributors
                                        ii. Number and percentage of newly authorized
                                             wholesalers/distributors
                                        iii. Number and percentage of active wholesalers/distributors
                                             (i.e., have shipped Lumryz at least once during the reporting
                                             period)

                               3.    Utilization Data

                                    a. Number of shipments, including the number of Lumryz packets,
                                       shipped by wholesalers/distributors, and other entities to
                                       pharmacies
                                    b. Number and percentage of Lumryz prescriptions (new and refill)
                                       dispensed by pharmacies to patients
                                    c. Number and percentage of Lumryz packets and shipments sent by
                                       pharmacies to patients stratified by product strength


                               4.    REMS Operation and Performance Data

                                     a. REMS Databases Report
                                          i.Number and percentage of contacts by stakeholder type
                                            (e.g., patients, healthcare providers, pharmacy, other)
                                         ii.Summary of reasons for contacts (e.g., enrollment questions)
                                            by reporter (e.g., authorized representative, patient,
                                            healthcare provider, other)
                                        iii.Summary of frequently asked questions by stakeholder type
                                            and topic


               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                         Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 8 of 20

               NDA 214755
               Page 7


                                          iv.Summary of any REMS-related problems identified, and a
                                             description of any corrective actions taken
                                           v.If the summary reason for the calls indicates a complaint,
                                             provide details on the nature of the complaint(s) and whether
                                             they indicate potential REMS burden (e.g., pharmacy calls to
                                             other REMS for oxybate products) or patient access issues
                                             (e.g., patient’s therapy delayed due to unwillingness of other
                                             REMS for oxybate products to provide necessary
                                             information)
                                           vi.Summary of program or system problems and a description
                                              of any corrective actions taken

                               5.   REMS Compliance

                                    a.    Audits: Summary of audit activities including but not limited to:
                                             i.A copy of the audit plan for certified pharmacies and
                                               wholesalers, distributors, and other entities that distribute
                                               Lumryz
                                            ii.The number of audits expected, and the number of audits
                                               performed
                                           iii.The number and type of deficiencies noted
                                           iv.For those with deficiencies noted, report the status of
                                               corrective and preventative action (CAPA) proposed to
                                               address the deficiencies, including completion dates
                                            v.For any that did not complete the CAPA within the timeframe
                                               specified in the audit plan, describe actions taken
                                           vi.Provide details on deviations for the CAPA proposed,
                                               including timelines, and mitigating steps to address the
                                               deviation
                                          vii.Confirm documentation of completion of training for relevant
                                               staff
                                         viii.Review of cumulative findings to identify any trends of
                                               potential repeat issues, and steps to be taken to address
                                               these findings
                                         ix. A summary report of the processes and procedures
                                              that are implemented to be in compliance with the
                                              REMS requirements

                                b. A summary report of noncompliance, associated corrective and
                                   preventive actions (CAPA) plans, and the status of CAPA plans
                                   including but not limited to:
                                      i. A copy of the Noncompliance Plan which addresses the
                                         criteria for noncompliance for each stakeholder, actions taken
                                         to address noncompliance for each event, and under what


               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                         Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 9 of 20

               NDA 214755
               Page 8


                                           circumstances a stakeholder would be suspended or
                                           decertified/disenrolled from the REMS
                                       ii. The number of instances of noncompliance accompanied by a
                                           description of each instance and the reason for the occurrence
                                           (if provided). For each instance of noncompliance, report the
                                           following information:

                                               1.   The unique ID(s) of the stakeholder(s) associated
                                                    with the noncompliance event to enable tracking
                                                    over time
                                               2.   The source of the noncompliance data
                                               3.   The results of root cause analysis
                                               4.   What action(s) were taken in response

                                c. Healthcare Providers
                                      i. Number and percentage of certified healthcare providers who
                                         were decertified and reasons for decertification. Include if any
                                         healthcare providers were re-certified
                                     ii. Number and percentage of Lumryz prescriptions filled from a
                                         healthcare provider who was not certified

                                 d. Certified Pharmacies
                                          i. Number and percentage of Lumryz prescriptions dispensed
                                              for more than a 30 days supply (first fill) or more than a 90
                                              days supply (refills) and reasons
                                         ii. Number and percentage of Lumryz shipments lost in
                                              delivery (and unrecovered) with number of DEA 106 Forms
                                              and Risk Management Reports completed
                                      iii. Number and percentage of initial Lumryz shipments sent to
                                             patients without completion of the Lumryz REMS Patient
                                             Counseling Checklist
                                      iv. Number and percentage of pharmacy decertifications and
                                             reasons for decertification. Include if any pharmacies were
                                             re-certified

                                 e. Patients

                                           i.Number and percentage of patients who were disenrolled
                                             from the program and reasons for disenrollment
                                          ii.Number and percentage of patients who received
                                             prescriptions from more than one prescriber during their
                                             therapy
                                         iii.Number and percentage of patients with overlapping Lumryz
                                             prescriptions (more than one active prescription shipped)


               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                         Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 10 of 20

               NDA 214755
               Page 9


                                         iv.Number of duplicate patients detected by certified
                                            pharmacies
                                          v.Number and percentage of duplicate patients who were
                                            shipped Lumryz under more than one name or identifier
                                         vi.Number and percentage of patients who were shipped
                                            Lumryz after being disenrolled

                                        vii.Number of patients found to have active, overlapping
                                             prescriptions for Lumryz and any other oxybate product
                                             (e.g., Xywav, Xyrem, or generic sodium oxybate)
                                        viii.Number and percentage of patients who requested an early
                                             refill of Lumryz and reason for the request

                                               1. Number and percentage of requests approved
                                               2. Number and percentage of requests denied by the
                                                 prescriber
                                               3. Number and percentage of requests denied by the
                                                 certified pharmacy
                                               4. Number and percentage of patients with multiple (i.e.,
                                                 more than 1) requests for early refills

                Safe Use Behaviors

                               6.   Pharmacy Notifications

                                      a. A summary of the notifications by pharmacies to prescribers for
                                         Lumryz. Each of the following situations will include the number
                                         and percentage of notifications, number of unique patients, the
                                         outcome of the pharmacy notification (e.g., counseled patient,
                                         discussed with prescriber) and outcome of Lumryz prescription
                                         disposition (e.g., prescriber approved shipment, prescriber
                                         requested shipment hold, prescriber denied shipment,
                                         pharmacy approved shipment):
                                            i.Use with prescription sedative-hypnotics indicated for sleep
                                              (e.g., eszopiclone, zaleplon, zolpidem, temazepam,
                                              suvorexant, quazepam, estazolam, flurazepam, triazolam,
                                              tasimelteon, ramelteon). Indicate specific actions taken by
                                              the prescriber and the prescriber’s rationale for continuing
                                              treatment in response to the notification including the
                                              following:
                                                    1. Treatment with Lumryz will be discontinued
                                                    2. Sedative hypnotic will be discontinued
                                                    3. Dosage of sedative hypnotic has been/will be
                                                        reduced
                                                    4. Information unavailable

               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                         Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 11 of 20

               NDA 214755
               Page 10


                                                   5.   No action (continue sedative hypnotic with
                                                        Lumryz)
                                                   6.   Prescriber’s rationale for continued use of
                                                        sedative hypnotic with Lumryz
                                                           Sedative hypnotic will not be taken at the
                                                              same time as Lumryz
                                                           Sedative hypnotic will be taken at the same
                                                              time as Lumryz
                                                           Sedative hypnotic will be taken as a sleep
                                                              aid
                                                           Sedative hypnotic will be taken for different
                                                              indication per medical need
                                                           Lumryz dose regimen changed
                                                           No rationale provided

                                           ii.Benzodiazepines (e.g., diazepam, alprazolam or any not
                                              listed in metric 6.a.i.). Indicate specific actions taken by the
                                              prescriber and the prescriber rationale for continuing
                                              treatment in response to the notification including the
                                              following:
                                                   1. Treatment with Lumryz will be discontinued
                                                   2. Benzodiazepine will be discontinued
                                                   3. Dosage of benzodiazepine has been/will be reduced
                                                   4. Information unavailable
                                                   5. No action (continue benzodiazepine with Lumryz)
                                                   6. Prescriber’s rationale for continued use of
                                                      benzodiazepine with Lumryz
                                                            Benzodiazepine will not be taken at the same
                                                             time as Lumryz
                                                            Benzodiazepine will be taken at the same time
                                                             as Lumryz
                                                            Benzodiazepine will be taken as a sleep aid
                                                            Benzodiazepine will be taken for different
                                                             indication per medical need
                                                            Lumryz dose regimen changed
                                                            No rationale provided
                                          iii.Use with other concomitant CNS-depressant medications
                                              (i.e., sedating antidepressants or antipsychotics, sedating
                                              anti-epileptics, sedating antihistamines, general
                                              anesthetics, muscle relaxants, opioid analgesics, or illicit
                                              CNS depressants)
                                          iv.Patient report of alcohol use
                                           v.Patient report of diagnosis of sleep apnea
                                          vi.Patient report of diagnosis of asthma, COPD, or other
                                              conditions affecting breathing

               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                         Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 12 of 20

               NDA 214755
               Page 11


                                         vii.Suspected abuse, misuse, or diversion
                                         viii.Alerts regarding potential abuse, misuse, or diversion on
                                              the patient profiles
                                          ix.Prescription error
                                           x.Early refill requests

                               7.   Risk Management Reports (RMRs)

                                    a. Number and percentage of RMRs submitted
                                    b. Number and percentage of unique patients with an RMR
                                    c. Number and percentage of unique patients with multiple RMRs
                                    d. Number and percentage of alerts generated from RMRs
                                    e. Number and percentage of RMRs generated from early refill
                                       requests
                                    f. Number and percentage of RMRs generated for other reasons,
                                       stratified by reasons
                                    g. Number and percentage of prescriber-related RMRs
                                    h. Number and percentage of RMRs that included reporting of an
                                       adverse event.

                                8. REMS Patient Counseling Checklist

                                    a. Summary table from REMS Patient Counseling Checklists of the
                                       number and percentage of patients taking the following
                                       concomitant medications and who subsequently received at least
                                       one shipment of drug:
                                           i.Prescription sedative hypnotics indicated for sleep (e.g.,
                                             eszopiclone, zaleplon, zolpidem, temazepam, suvorexant,
                                             quazepam, estazolam, flurazepam, triazolam, tasimelteon,
                                             ramelteon)
                                          ii.Alcohol
                                         iii.Other potentially interacting agents:
                                                 1. Benzodiazepines (e.g., diazepam, alprazolam, or
                                                     any not listed in metric 8.a.i.)
                                                 2. Sedating antidepressants or antipsychotics,
                                                     sedating anti- epileptics, and sedating
                                                     antihistamines
                                                 3. General anesthetics
                                                 4. Muscle relaxants
                                                 5. Opioid analgesics
                                                 6. Illicit CNS depressants (e.g., heroin or gamma-
                                                     hydroxybutyrate [GHB])
                                      b. Summary table for Lumryz from REMS Patient Counseling
                                         Checklists of the number and percentage of patients who have


               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                         Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 13 of 20

               NDA 214755
               Page 12


                                        been diagnosed with the following conditions and who
                                        subsequently received at least one shipment of drug:
                                           i.Sleep apnea
                                          ii.Asthma, COPD, or other conditions affecting the respiratory
                                             system

                            9.    Verification of Disenrollment or Active Prescriptions in Other
                                  REMS for Oxybate Products (per reporting period)

                                  a. Information on patients with active, overlapping prescription or
                                     disenrollment or deactivation for misuse, abuse, etc., in other
                                     REMS for oxybate products and outcomes
                                            i.For unsuccessful attempts or those that resulted in a
                                              treatment delay, indicate the REMS contacted
                                           ii.Number and dates of unsuccessful contact attempts to
                                              other REMS for oxybate products, including hold times per
                                              contact attempt
                                          iii.For contacts resulting in a delay, the total number of contact
                                              attempts, and time from receipt of prescription to successful
                                              contact with other REMS for oxybate products
                                         iv.The number of prescriptions delayed or unable to be filled
                                              divided by the number of valid prescriptions received
                                           v.Reason not dispensed (e.g., active prescription in other
                                              REMS, for oxybate products unresponsive, patient
                                              disenrolled or discontinued due to abuse, misuse, or
                                              diversion)
                                         vi.Reports of any negative outcomes due to any treatment
                                              delay
                                        vii.Number of prescriptions dispensed without verification of
                                             current overlapping prescription or disenrollment from other
                                             REMS for oxybate products

                        10. Pre-Dispense Authorizations (PDAs)
                                   1. Number of requested PDAs that were rejected and reasons for
                                      rejection
                                   2. Number of prescriptions dispensed where all REMS and safe
                                      use requirements were not met, but a PDA was provided
                                   3. Number of prescriptions dispensed without a PDA
                                   4. The number of requested PDAs that were rejected and were
                                      subsequently approved and the duration of time from rejection
                                      of the requests to approval

                   Health Outcomes and/or Surrogates of Health Outcomes

                         11. Pharmacovigilance/surveillance (per reporting period)

               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                         Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 14 of 20

               NDA 214755
               Page 13



                                    a. Analysis of serious adverse events and summary table for
                                       Lumryz of the number of reports of serious adverse events,
                                       including the following data fields; date, case report ID, age,
                                       gender, serious adverse event(s) outcome (hospitalization or
                                       death), associated factors (i.e., concurrent use with sedative
                                       hypnotics or alcohol, intentional misuse, abuse, overdose,
                                       diversion, or medication error) and if cases are considered
                                       related or not related to Lumryz. Tables will include an overall
                                       narrative summary and analysis of the adverse events and data
                                       fields reported.
                                              i.All cases of death - include narrative summary of each
                                                death
                                                      1. Number, percentage, and type of RMRs,
                                                          notifications, and alerts within 6 months of the
                                                          reported deaths
                                                      2. Calculation of the overall, and age- and gender-
                                                          specific mortality rates.
                                                      3. Calculation of the standardized mortality rates,
                                                          adjusted for age and gender, using both the point
                                                          estimates and the lower bounds of the 95%
                                                          confidence intervals as the reference rates.
                                           ii.Serious adverse events with all outcomes of death,
                                               emergency department visits (when admitted to hospital), or
                                               hospitalizations resulting from or associated with the
                                               following:
                                                       1. Use with concurrent sedative hypnotics
                                                       2. Use with alcohol
                                                       2. Intentional misuse
                                                       3. Abuse
                                                       4. Overdose
                                                       5. Medication error
                                          iii.Cases of sexual abuse – include narrative summary of each
                                               case
                                          iv.Proportion of discontinued patients who were associated
                                               with a report of a serious adverse event, including death

               Knowledge

                        12. Knowledge, Attitude, and Behavior (KAB) Surveys of Patients,
                            Healthcare Providers, and Pharmacists (to be submitted annually)

                                 a. Assessment of patients', healthcare providers' and pharmacists’
                                    understanding of the following:


               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                          Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 15 of 20

               NDA 214755
               Page 14


                                           i.The risk of significant CNS and respiratory depression
                                             associated with Lumryz even at recommended doses
                                          ii.The contraindicated uses of Lumryz with sedative hypnotics
                                             and alcohol
                                         iii.The potential for abuse, misuse, and overdose associated
                                             with Lumryz
                                         iv.The safe use, handling, and storage of Lumryz
                                          v.The Lumryz REMS requirements

                    13. Certified Pharmacy Knowledge Assessments (per reporting period and
                        cumulatively)

                                      a. Number of pharmacy staff who completed post-training
                                         knowledge assessments including method of completion and
                                         the number of attempts needed to complete
                                             i. Breakdown of scores within the Pharmacy Staff
                                                  Knowledge Assessment and Pharmacist Knowledge
                                                  Assessment
                                      b. Summary of the most frequently missed post-training Pharmacy
                                         Staff Knowledge Assessment questions
                                      c. Summary of the most frequently missed post-training
                                         Pharmacist Knowledge Assessment questions
                                      d. Summary of potential comprehension or perception issues
                                         identified with the post-training knowledge assessments
                                      e. Number of pharmacy staff and pharmacists who did not pass
                                         the knowledge assessments

               Overall Assessment of REMS Effectiveness

                    14. The requirements for assessments of an approved REMS under section 505-
                        1(g)(3) include with respect to each goal included in the strategy, an assessment
                        of the extent to which the approved strategy, including each element of the
                        strategy, is meeting the goal or whether one or more such goals or such
                        elements should be modified.

               If the information provided in an assessment is insufficient to allow FDA to determine
               whether the REMS is meeting its goals or whether the REMS must be modified, FDA
               may require the submission of a new assessment plan that contains the metrics and/or
               methods necessary to make such a determination. Therefore, FDA strongly
               recommends obtaining FDA feedback on the details of your proposed assessment plan
               to ensure its success. To that end, we recommend that methodological approaches,
               study protocols, other analysis plans and assessment approaches used to assess a
               REMS program be submitted for FDA review as follows:



               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                             Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 16 of 20

               NDA 214755
               Page 15


                  i.      Submit your proposed audit plan and non-compliance plan for FDA review within
                          60 days of this letter.

                  ii.     Submit your proposed protocol for the knowledge survey(s) for FDA review
                          within 90 days of this letter.

               Prominently identify the submission containing the assessment instruments and
               methodology with the following wording in bold capital letters at the top of the first page
               of the submission:

                          NDA 214755 REMS ASSESSMENT METHODOLOGY
                          (insert concise description of content in bold capital letters, e.g.,
                          ASSESSMENT METHODOLOGY, PROTOCOL, SURVEY METHODOLOGIES,
                          AUDIT PLAN, DRUG USE STUDY)

               We remind you that in addition to the REMS assessments submitted according to the
               timetable in the approved REMS, you must include an adequate rationale to support a
               proposed REMS modification for the addition, modification, or removal of any goal or
               element of the REMS, as described in section 505-1(g)(4) of the FDCA.

               We also remind you that you must submit a REMS assessment when you submit a
               supplemental application for a new indication for use as described in section 505-
               1(g)(2)(A). This assessment should include:

                       a) An evaluation of how the benefit-risk profile will or will not change with the new
                          indication;

                       b) A determination of the implications of a change in the benefit-risk profile for the
                          current REMS;

                       c) If the new, proposed indication for use introduces unexpected risks: A description
                          of those risks and an evaluation of whether those risks can be appropriately
                          managed with the currently approved REMS.

                       d) If a REMS assessment was submitted in the 18 months prior to submission of the
                          supplemental application for a new indication for use: A statement about whether
                          the REMS was meeting its goals at the time of the last assessment and if any
                          modifications of the REMS have been proposed since that assessment.

                       e) If a REMS assessment has not been submitted in the 18 months prior to
                          submission of the supplemental application for a new indication for use:
                          Provision of as many of the currently listed assessment plan items as is feasible.

                       f) If you propose a REMS modification based on a change in the benefit-risk profile
                          or because of the new indication of use, submit an adequate rationale to support

               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                           Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 17 of 20

               NDA 214755
               Page 16


                        the modification, including: Provision of the reason(s) why the proposed REMS
                        modification is necessary, the potential effect on the serious risk(s) for which the
                        REMS was required, on patient access to the drug, and/or on the burden on the
                        health care delivery system; and other appropriate evidence or data to support
                        the proposed change. Additionally, include any changes to the assessment plan
                        necessary to assess the proposed modified REMS. If you are not proposing a
                        REMS modification, provide a rationale for why the REMS does not need to be
                        modified.

               An authorized generic drug under this NDA must have an approved REMS prior to
               marketing. Should you decide to market, sell, or distribute an authorized generic drug
               under this NDA, contact us to discuss what will be required in the authorized generic
               drug REMS submission.

               We remind you that section 505-1(f)(8) of FDCA prohibits holders of an approved
               covered application with elements to assure safe use from using any element to block
               or delay approval of an application under section 505(b)(2) or (j). A violation of this
               provision in 505-1(f) could result in enforcement action.

               Prominently identify any submission containing the REMS assessments or proposed
               modifications of the REMS with the following wording in bold capital letters at the top of
               the first page of the submission as appropriate:

                        NDA 214755 REMS ASSESSMENT

                                      or

                        NEW SUPPLEMENT FOR NDA 214755/S-000
                        CHANGES BEING EFFECTED IN 30 DAYS
                        PROPOSED MINOR REMS MODIFICATION

                                      or

                        NEW SUPPLEMENT FOR NDA 214755/S-000
                        PRIOR APPROVAL SUPPLEMENT
                        PROPOSED MAJOR REMS MODIFICATION

                                      or

                        NEW SUPPLEMENT FOR NDA 214755/S-000
                        PRIOR APPROVAL SUPPLEMENT
                        PROPOSED REMS MODIFICATIONS DUE TO SAFETY LABELING
                        CHANGES SUBMITTED IN SUPPLEMENT XXX

                                      or

               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                          Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 18 of 20

               NDA 214755
               Page 17



                        NEW SUPPLEMENT (NEW INDICATION FOR USE)
                        FOR NDA 214755/S-000
                        REMS ASSESSMENT
                        PROPOSED REMS MODIFICATION (if included)

               Should you choose to submit a REMS revision, prominently identify the submission
               containing the REMS revisions with the following wording in bold capital letters at the
               top of the first page of the submission:

                        REMS REVISION FOR NDA 214755

               To facilitate review of your submission, we request that you submit your proposed
               modified REMS and other REMS-related materials in Microsoft Word format. If certain
               documents, such as enrollment forms, are only in PDF format, they may be submitted
               as such, but the preference is to include as many as possible in Word format.

               SUBMISSION OF REMS DOCUMENT IN SPL FORMAT

               As soon as possible, but no later than 14 days from the date of this letter, submit the
               REMS document in Structured Product Labeling (SPL) format using the FDA automated
               drug registration and listing system (eLIST). Content of the REMS document must be
               identical to the approved REMS document. The SPL will be publicly available.

               Information on submitting REMS in SPL format may be found in the guidance for
               industry Providing Regulatory Submission in Electronic Format – Content of the Risk
               Evaluation and Mitigation Strategies Document Using Structured Product Labeling.

               For additional information on submitting REMS in SPL format, please email
               FDAREMSwebsite@fda.hhs.gov.

               PROMOTIONAL MATERIALS

               You may request advisory comments on proposed introductory advertising and
               promotional labeling. For information about submitting promotional materials, see the
               final guidance for industry Providing Regulatory Submissions in Electronic and Non-
               Electronic Format—Promotional Labeling and Advertising Materials for Human
               Prescription Drugs.4

               As required under 21 CFR 314.81(b)(3)(i), you must submit final promotional materials,
               and the Prescribing Information, at the time of initial dissemination or publication,



               4
                For the most recent version of a guidance, check the FDA guidance web page at
               https://www.fda.gov/media/128163/download.
               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                         Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 19 of 20

               NDA 214755
               Page 18


               accompanied by a Form FDA 2253. Form FDA 2253 is available at FDA.gov.5
               Information and Instructions for completing the form can be found at FDA.gov.6

               REPORTING REQUIREMENTS

               We remind you that you must comply with reporting requirements for an approved NDA
               (21 CFR 314.80 and 314.81).

               If you have any questions, contact Jack Dan, Regulatory Project Manager, at
               Jack.Dan@fda.hhs.gov.

                                                             Sincerely,

                                                             {See appended electronic signature page}

                                                             Teresa Buracchio, MD
                                                             Director (Acting) & Deputy Director
                                                             Office of Neuroscience
                                                             Center for Drug Evaluation and Research


               ENCLOSURES:
                  Content of Labeling
                      o Prescribing Information
                      o Medication Guide
                      o Instructions for Use
                  REMS




               5
                http://www.fda.gov/downloads/AboutFDA/ReportsManualsForms/Forms/UCM083570.pdf
               6
                http://www.fda.gov/downloads/AboutFDA/ReportsManualsForms/Forms/UCM375154.pdf
               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 5166429
                                Case 1:23-cv-01819 Document 1-8 Filed 06/22/23 Page 20 of 20            Signature Page 1 of 1

              --------------------------------------------------------------------------------------------
              This is a representation of an electronic record that was signed
              electronically. Following this are manifestations of any and all
              electronic signatures for this electronic record.
              --------------------------------------------------------------------------------------------
              /s/
              ------------------------------------------------------------

              TERESA J BURACCHIO
              05/01/2023 11:05:33 AM




    Reference ID: 5166429
(
